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lE 0 Appninling Counsel [i C Co-Counse|
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4345 E MALLORY AVE l:l P Suhs Fnr Pnne| Attorney [:l \’ Stlndh)' Couosei
MEMPHIS TN 381 l 1 Prior Atturuey‘s Nlme:
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g Becluse the above-named person represented has testified under oath or has
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UNITED sTATE DRISTIC COURT - WTERN D's'TRCT OFTENNESSEE

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LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

Mcmphis7 TN 38111

Honorable J on McCalla
US DISTRICT COURT

